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AO 240 (Rev. 07/10) Application to Proceed in District Court Without Prepaying Fees or Costs

UNITED STATES DISTRICT COURT
for the
Eastern District of Michigan

 

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)
Plaintiff/Petitioner ) — ¥Z2
v \’ a ) Civil Action No. 15-903
Yeol Mbicple +h ) P04 Aa-~ay
Defendant/Respondent )

APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS

I am a plaintiff or petitioner in this case and declare that I] am unable to pay the costs of these proceedings and
that I am entitled to the relief requested.

In support of this application, I answer the following questions under penalty of perjury:

1. Ifincarcerated. | am being held at: mel WMervz, AantDoLon

If employed there, or have an account in the institution, | have/attached to this document a statement certified by the
appropriate institutional officer showing all receipts, expenditures, and balances during the last six months for any
institutional account in my name. I am also submitting a similar statement from any oth stitgtion “ter Iw
incarcerated during the last six months. I E

2. Ifnot incarcerated. If 1 am employed, my employer’s name and address are: JAN 1 0 2023

CLERK'S OFFICE
DETROIT

My gross pay or wages are: $ 43 30 , and my take-home pay or wagesare: $ QY3S5Q_per
(specify pay period) V\gyr\ thy

 

3. Other Income. \n the past 12 months, I have received income from the following sources (check all that apply):

(a) Business, profession, or other self-employment O Yes No
(b) Rent payments, interest, or dividends O Yes &No
(c) Pension, annuity, or life insurance payments O Yes i No
(d) Disability, or worker’s compensation payments O Yes No
(e) Gifts, or inheritances O Yes No
(f) Any other sources O Yes No

If you answered “Yes” to any question above, describe below or on separate pages each source of money and
state the amount that you received and what you expect to receive in the future.
 

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4. Amount of money that I have in cash or in a checking or savings account: $ 53.72

5. Any automobile, real estate, stock, bond, security, trust, jewelry, art work, or other financial instrument or
thing of value that I own, including any item of value held in someone else’s name (describe the property and its approximate

value): As an wmete at FCI Morgantown, Ho Question
dots nok aypy

6. Any housing, transportation, utilities, or loan payments, or other regular monthly expenses (describe and provide
the amount of the monthly expense): _

As an inmate ot FOO MoveantoM inmate ‘'S re Spons i ble
Lor ERP poye’t F #50 op/mo,

7. Names (or, if under 18, initials only) of all persons who are dependent on me for support, my relationship
with each person, and how much I contribute to their support:

None

8. Any debts or financial obligations (describe the amounts owed and to whom they are payable):

Se No. & above |

Declaration: | declare under penalty of perjury that the above information is true and understand that a false

statement may result in a dismissal of my claims.

: U/ Applicant's signature

| Aa) J. Nicole TH

Printed name

  

Date: |1-43-
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Inmate Inquiry

 

Morgantown IC]

Commissary Restrict

Inmate Reg #: 55819039 Current Institution:
Inmate Namie: NICOLETT YT, PAUL. Housing Unit:
report Date: O10: 2023 Living Quarters:
Report Lime: 2:15:33 PM
. General Information | AccountBalances | Commissary History |
\ General Information
1 Administrative Hold Indicator: No
No Power of Attorney: No
Never Waive NSF Fee: No
Max Allowed Deduction%: 100
PIN: 2811
PAC #: 196273458
Revalidation Date: 28th
FRP Participation Status: Participating
Arrived From:
Transferred To:
Account Creation Date: 2/24/2020
Local Account Activation Date: 5/12/2021 3:16:23 AM
a
Sort Codes: |”
; Last Account Update: 12/28/2022 12:11:47 AM
Account Status: Active
Phone Balance: $0.00
Pre-Release Plan Information
Target Pre-Release Account Balance: $0.00
Pre-Release Deduction %: 0%
Income Categories to Deduct From: —-_—~PPayyroll Outside Source Funds
FRP Plan Information
FRP Plan Type Expected Amount Expected Rate
’ Monthly $50.00 0%

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Account Balances

Account Balance: $53.72
Pre-Release Balance: $0.00
Debt Encumbrance: $0.00
SPO Encumbrance: $0.00
Other Encumbrances: $0.00

Outstanding Negotiable Instruments: $0.00

Administrative Hold Balance: $0.00

Available Balance: $53.72
National 6 Months Deposits: $1,237.86
National 6 Months Withdrawals:

Available Funds to be considered for IFRP Payments:
National 6 Months Avg Daily Balance:

Local Max. Balance - Prev. 30 Days:

Average Balance - Prev. 30 Days:

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$1,251.05
$487.86
$72.45
$207.32
$69.81

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Commissary History

Purchases

Validation Period Purchases:
; YTD Purchases:
Last Sales Date:

$0.00
$531.95
12/21/2022 8:36:52 AM

SPO Information

SPO's this Month: 0
SPO $ this Quarter: $0.00

Spending Limit Info
¥ : . Spending Limit Override: No
ON Weekly Revalidation: No
. Bi-Weekly Revalidation: No

; Spending Limit:
Expended Spending Limit:
Remaining Spending Limit:

$410.00
$0.00
$410.00

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Commissary Restrictions

Spending Limit Restrictions

 

Restricted Spending Limit:

Restricted Expended Amount:
Restricted Remaining Spending Limit:
Restriction Start Date:

Restriction End Date:

1 Item Restrictions

List Name

List Type

$0.00
$0.00
$0.00
N/A
N/A

Start Date End Date

Active

 

Comments

Comments:

 
 

 

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